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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater               §                      MDL No. 2179
       Horizon” in the Gulf of Mexico, on                §                       Section: J
       April 20, 2010                                    §
                                                         §
        This Document Relates to:                        §                        Judge Barbier
                                                         §
In Re: The Complaint and Petition of                     §                Mag. Judge Shushan
       Triton Asset Leasing GMbH, et al.                 §
       Civil Action No. 10-2771                          §

                   ORDER GRANTING MOTION TO AMEND PLEADING


        THIS cause came before the Court on the Motion to Amend the

Pleading filed by Carroll H. Ingram, Attorney and the Court having considered same,

finds justifiable cause to amend the Claimants, 30 Degree Blue, LLC, et al filed Objections to

Jurisdiction and To Enforcement of Monition, Reservation of Rights, Answers and Defenses of

Claimants, Motion to Toll and Extend for Filing Claims Pursuant to the Monition and

Memorandum on April 22, 2011 in Civil Action 2:10cv2771. The Court does hereby GRANT

Attorney Carroll H. Ingram’s Motion to Amend Pleading.

        IT IS HEREBY ORDERED AND ADJUDGED that the Claimants, 30 Degree Blue,

LLC, et al filed Objections to Jurisdiction and To Enforcement of Monition, Reservation of

Rights, Answers and Defenses of Claimants, Motion to Toll and Extend for Filing Claims

Pursuant to the Monition and Memorandum on April 22, 2011 in Civil Action 2:10cv2771 shall

be amended by deleting the listing of Attorney Carroll H. Ingram from the document;

        IT IS HEREBY ORDERED AND ADJUDGED that no other amendment, deletion,

correction or alteration of the document is granted.

        SO ORDERED AND ADJUDGED, this the ______ day of May, 2011.




                                                  UNITED STATES DISTRICT JUDGE
